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   Counsel Thr Plaintiff

                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW’ JERSEY

     ROBERT SIVIGNY,                                i   Case No: 2: 19-ev-161 13-BRM-JAD

            Plaintiff,                                  NOTICE OF VOLUNTARY DISMISSAL
                                                        PURSUANT TO FED. R. CIV. P.
            v,                                          41(a)(1)(A)(i)

     MEDIDATA SOLUTIONS. [NC.. TAREK
     SHERIF. GLEN DE VRIES. CARLOS
     DOMINGUEZ. GEORGE MCCULLOCH,                   I

     NEIL KURTZ. MARIA RIVAS. LEE
     SHAPIRO, and ROBERT B. TAYLOR,

            Defendants     -




          PLEASE TAKE NOTICE that, pursuant to Rule 41(a)(l )(A)(i) of the Federal Rules of

  Civil Procedure. Plaintiff Robert Sivigny hereby voluntarily dismisses the above-captioned action

  as moot. Defendants have not served an answer or a motion for summary judgment.



  Dated: August 19. 2019                           Respectfully submitted.

                                                   HALPER SADEH LLP

                                                   /s/Zachary Halper
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Brian ft Martinotti, U.S.D.J.
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